Case 2:04-cr-20358-SH|\/| Document 81 Filed 08/05/05 Page 1 of 2 Page|D 101

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IN THE UNITED s'rA'rEs DISTRICT coUR'r '
FoR THE wEsTERN DIs'r:RJ:cT oF TENNESSEE _ .
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UNITED STATES Ol"" AMERICA, WJ;G ing 135 LVSFL_WS

Plaintiff,
CR. NO. 04-20358-01-Ma

VS.

ALFONZO MITCHELL.

-_¢-..r\-..--..u\-._r\._¢-._¢-~_¢'~_¢

Defendant.

 

ORDER ON CH.ANGE OF PLEA

 

This cause came on to be heard on August 4, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Alfonzo jMitchell, appearing in. person. and.‘with
appointed counsel, Ms. Mary Catherine Jermann.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Superseding Indictment. Plea colloquy was
held and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, November 4, 2005
at 11:00 a.m.

The defendant-is remanded to the custody of the United States
Marshal.

ENTERED this the q wl day of August, 2005.

JM/».»___

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED TEATSDTISRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20358 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

